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JOHN W. HUBER, United States Attorney (#7226)
ARTHUR J. EWENCZYK, Special Assistant United States Attorney (NY #5263785)
LESLIE A. GOEMAAT, Special Assistant United States Attorney (MA #676695)
RICHARD M. ROLWING, Special Assistant United States Attorney (OH #0062368)
JOHN E. SULLIVAN, Senior Litigation Counsel, Tax Division (WI #1018849)
Attorneys for the United States of America
111 South Main Street, #1800
Salt Lake City, Utah 84111
Telephone: (801) 524-5682
Email: arthur.j.ewenczyk@usdoj.gov
        leslie.a.goemaat@usdoj.gov
        richard.m.rolwing@usdoj.gov
        john.e.sullivan@usdoj.gov
________________________________________________________________________

                         IN THE UNITED STATES DISTRICT COURT

                    DISTRICT OF UTAH, CENTRAL DIVISION
________________________________________________________________________

UNITED STATES OF AMERICA,                   :        Case No. 2:18-CR-365-JNP-BCW

                       Plaintiff,           :

       v.                                   :
                                                     GOVERNMENT’S RESPONSE TO
JACOB ORTELL KINGSTON,                      :        JACOB KINGSTON’S NOTICE OF
ISAIAH ELDEN KINGSTON,                               GOVERNMENT’S ABUSE OF THE
LEV ASLAN DERMEN,                           :        GRAND JURY
  a/k/a Levon Termendzhyan,
RACHEL ANN KINGSTON, and                    :
SALLY LOUISE KINGSTON
                                            :        District Judge Jill N. Parrish
                       Defendants.                   Magistrate Judge Brooke C. Wells


       The United States hereby responds to Jacob Kingston’s Notice of Government’s Abuse of

the Grand Jury. ECF 164. The notice should be disregarded as the defendant fails to offer any

basis to overcome the presumption of regularity that attaches to the grand jury’s acts.

       All courts recognize the presumption of regularity that attaches to grand jury

proceedings. United States v. Mechanik, 475 U.S. 66, 75, 106 S. Ct. 938, 944, 89 L. Ed. 2d 50




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(1986) (“The grand jury proceeding is accorded a presumption of regularity, which generally

may be dispelled only upon particularized proof of irregularities in the grand jury process.”);

United States v. McVeigh, 896 F. Supp. 1549, 1557 (W.D. Okla. 1995) (citing United States v. R.

Enterprises, Inc., 498 U.S. 292, 300-01 (1991)) (“The witness/Defendant offers nothing to

support his assertions that the grand jury subpoena and directive are being used to gather

information to be used in a pending grand jury investigation in Michigan or to gather evidence

for a trial in Michigan other than rank speculation or supposition. Such rank speculation or

supposition is insufficient to overcome the presumption of regularity that attaches to the grand

jury's acts.”).

        The United States intends to go to trial on the Second Superseding Indictment returned by

the grand jury and is not using the grand jury to prepare for trial. There are many legitimate

bases for a grand jury to continue issuing subpoenas, even after it has returned an indictment and

the government has started preparing for trial.1 See, e.g., United States v. Gibbons, 607 F.2d

1320, 1328 (10th Cir. 1979); Beverly v. United States, 468 F.2d 732, 743 (5th Cir. 1972); United

States v. George, 444 F.2d 310, 314 (6th Cir. 1971); In re Grand Jury Proceedings (Dramante),

814 F.2d 61, 70-71 (1st Cir. 1987). Here, Defendant Kingston offers nothing beyond speculation

or supposition to support his contention that the United States made any improper use of the

grand jury.

        For all these reasons, Defendant Jacob Kingston’s Notice, ECF 164, should be

disregarded.



1
 Pursuant to Rule 6(e) of the Federal Rules of Criminal Procedure, the United States cannot
comment on grand jury investigations on a public docket. However, at the Court’s request, the
government can address any specific questions on an in camera and ex parte basis.

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 Respectfully submitted this 30th day of January, 2019.

                                      JOHN W. HUBER
                                      United States Attorney

                                      /s/ Leslie A. Goemaat
                                      LESLIE A. GOEMAAT
                                      ARTHUR J. EWENCZYK
                                      RICHARD M. ROLWING
                                      Special Assistant United States Attorneys
                                      JOHN E. SULLIVAN
                                      Senior Litigation Counsel




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                                      Certificate of Service

       I certify that on the 30th day of January 2019. I caused a copy of the foregoing to be filed
through the CM/ECF electronic filing system, thereby causing a true and correct copy of the
foregoing to all counsel of record.




                                                     /s/Leslie A. Goemaat
                                                     LESLIE A. GOEMAAT
                                                     Special Assistant United States Attorney




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